This cause having heretofore been submitted to the Court upon the transcript of the record of the order herein, and briefs and argument of counsel for the respective parties and the record having been seen and inspected, and the Court being now advised of its judgment to be given in the premises, it seems to the Court that there is no error in the said order. It is therefore considered, ordered, and decreed by the Court that the said order of the circuit court be, and the same is hereby, affirmed under authority of Willys-Overland, Inc. v. Blake,97 Fla. 626, 121 So. R. 884; Feinberg v. Stearns, 56 Fla. 279, 47 So. R. 797, 131 Am. St. R. 119; Hunter v. State Bank of Florida, 65 Fla. 202, 61 So. R. 497. *Page 1703 
Affirmed.
TERRELL, C. J., and ELLIS and BROWN, J. J., concur.
WHITFIELD, P. J., and STRUM and BUFORD, J. J., concur.